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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                )    Criminal No. 21-444 (JEB)
                                         )
                       Plaintiff,        )    MOTION FOR WITHDRAWAL AND
                 v.                      )    FOR THE APPOINTMENT OF
                                         )    SUBSTITUTE STANDBY COUNSEL,
BRIAN CHRISTOPHER MOCK,                  )    AND FOR STATUS CONFERENCE
                                         )
                       Defendant.        )

       Pursuant to Rule 44.5(d) of the Local Criminal Rules of the United States District

Court for the District of Columbia, the undersigned counsel, Keala C. Ede, hereby

respectfully moves to withdraw as standby counsel of record for the defendant, Brian

Christopher Mock, and for the appointment of substitute standby counsel, as well as a status

conference in the above-captioned matter. The grounds for this motion are as follows:

       On February 24, 2022, the undersigned standby counsel was appointed as a state

District Court Judge in Minnesota.      Standby counsel anticipates that his duties will

commence on or before April 18, 2022, which is the scheduled trial date in the above-

captioned matter. Standby counsel will be serving this written motion upon Mr. Mock via

U.S. mail to the Correctional Treatment Facility of the District of Columbia Department of

Corrections, which is located at 1901 D. Street SE, Washington, DC 20003. Standby

counsel has already informally provided notice of this motion to Mr. Mock and to counsel

of record for the government, Assistant United States Attorney Amanda Jawad, and to this

Court. Standby counsel is also attempting to arrange for a formal meeting with Mr. Mock

on March 1, 2022, to further discuss this motion with him and to ensure that he has notice.


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       Standby counsel has contacted the Office of Federal Public Defender for the District

of Columbia (“FPD”) to request their assistance in securing substitute standby counsel for

Mr. Mock. Standby counsel is informed and believes that, upon granting this motion and

receiving direction from the Court to do so, the FPD will assist the Court in appointing

substitute standby counsel for Mr. Mock. Because Mr. Mock is representing himself pro se

and standby counsel is timely filing this motion immediately following the announcement

of his appointment, seven weeks prior to trial, granting this motion to withdraw should not

unduly delay trial of the case or be unfairly prejudicial to any party. Moreover, granting this

motion is in the interests of justice.

       Lastly, in order to ensure that Mr. Mock has formal notice of this motion in addition

to the efforts described above, and to address continuing issues regarding discovery and

access to legal materials that Mr. Mock has raised with standby counsel since the February

18, 2022 status conference, standby counsel is respectfully requesting that the Court set a

status conference in this matter at the Court’s earliest possible convenience.

       For all of the foregoing reasons, it is respectfully prayed that the Court grant standby

counsel’s motion to withdraw as standby counsel of record for Mr. Mock, order the

appointment of substitute standby counsel, and set a status conference in the above-

captioned matter.




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Dated: February 25, 2022               Respectfully submitted,

                                       s/ Keala C. Ede

                                       KEALA C. EDE
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                                       Attorney for Defendant
                                       107 U.S. Courthouse
                                       300 South Fourth Street
                                       Minneapolis, MN 55415




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